                          UNITED STATES BANKRUPTCY COURT
                                      THE MIDDLE DISTRICT OF PENNSYLVANIA

In re:                                                                   Case No. 18-bk-03273-RNO
Herold Marcel Devis
           Debtor(s)
                                                                         Chapter 13


Notice of Post-Petition Mortgage Fees, Expenses, and Charges

If you hold a claim secured by a security interest in the debtor's principal residence, you must use this form to give notice of any
post-petition fees, expenses, or charges that you asset are recoverable against the debtor(s) or against the debtor’s principal
residence. File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.


Name of creditor: WELLS         FARGO BANK, N.A.                         Court claim no. (if known): 4

Last four digits of any number                                           Does this Notice Supplement a prior notice of post-
you use to identify the debtor’s                                         petition fees, expenses, or charges?
account: 0529_________
                                                                                No
                                                                          ・     Yes - Date of Last Notice:



 Part 1: Itemize Post-petition Payments/Fees Included in Plan per Stipulation

 The Following payment(s) and/or fees have been agreed by debtor(s) to be added to the Chapter 13 Plan per the
 Stipulation filed 10/10/2019 settling WELLS FARGO BANK, N.A.’s Motion for Relief



            Monthly Payments: 06/01/2019 – 10/01/2019 @ $1,666.46 per month                          $8,332.30
            Less Debtor Suspense:                                                                    ($0.00)
            Less Down-Payment (if any):                                                              ($0.00)
            Total Post-Petition Added to Chapter 13 Plan:                                            $8,332.30




The Debtor(s) or Trustee may challenge whether the fees, expenses, and charges you listed are required to be paid. See
11U.S.C.§1322(b)(5) and Bankruptcy Rule 3002.1.

Official Form 410S2                Notice of Post-petition Mortgage Fees, Expenses, and Charges                              page 1




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Official Form 410S2              Notice of Post-petition Mortgage Fees, Expenses, and Charges                             page 2
 Part 2: Sign Here

 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address
 and telephone number if different from the notice address listed on the proof of claim to which this Supplement applies.


 Check the appropriate box.
 ❐ I am the creditor.
     I am the creditor’s authorized agent.

 I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my
 knowledge,
 information, and reasonable belief.


 X /s/ Harry B. Reese, Esquire
                                                                 Date:    10/15/2019
 Jill Manuel-Coughlin, Esquire
 Harry B. Reese, Esquire                                         Title:   Attorney                       ____________

 Print: Jill Manuel-Coughlin, Esquire
        Harry B. Reese, Esquire

 Company: Powers Kirn, LLC

 Address: 8 Neshaminy Interplex, Suite 215
         Trevose, PA 19053
                                                                 E-Mail: bankruptcy@powerskirn.com

 Contact Phone: 215-942-2090




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                           IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 IN RE:
 Herold Marcel Devis                                         Case No. 18-bk-03273-RNO
                                         Debtor(s)

 WELLS FARGO BANK, N.A.
                                          Movant
        v.
 Herold Marcel Devis
                                         Debtor(s)

                                       CERTIFICATE OF SERVICE

       I hereby certify under penalty of perjury that I served the above captioned parties at the address specified
below or on the attached list on October 15, 2019.

         The type of service made on the parties (first-class mail, electronic notification, hand delivery or another
type of service) was service by electronic notification and first class U.S. mail.


                                     Parties Served via Electronic Notification:

 Patrick James Best , , Esquire                               Charles J DeHart, III , Esquire
 ARM Lawyers                                                  8125 Adams Drive, Suite A
 18 North 8th Street                                          Hummelstown, PA 17036
 Stroudsburg, PA 18360
                                                              Trustee
 Attorney for Debtor(s)

                                         Parties Serviced via First Class Mail:

 Herold Marcel Devis
 1330 Glade Drive
 Long Pond, PA 18334
 Debtor(s)

                                                           /s/ Harry B. Reese, Esquire
                                                           POWERS KIRN, LLC
                                                           Jill Manuel-Coughlin, Esquire; Atty ID # 63252
                                                           Harry B. Reese, Esquire; Atty ID #310501
                                                           8 Neshaminy Interplex, Suite 215
                                                           Trevose, PA 19053
                                                           215-942-2090 phone; 215-942-8661 fax
                                                           bankruptcy@powerskirn.com
                                                           Attorney for Movant
                                                           Dated: October 15, 2019




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